                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, et al.                                         PLAINTIFFS


        v.                                          NO. 5:23-cv-5086


 CRAWFORD COUNTY, ARKANSAS, et al.                                           DEFENDANTS


                           DECLARATION OF CAROL COFFEY

       I, Carol Coffey, hereby declare under penalty of perjury as prescribed in 28 U.S.C. § 1746:

       1.      The facts contained in this declaration are based on my personal knowledge and I

can testify competently to them if called upon to do so. I submit this sworn declaration in support

of Plaintiffs’ motion for summary judgment.

       2.      I am currently the Past-President of the Arkansas Library Association (ArLA),

which is an Arkansas-based nonprofit corporation formed under Section 501(c)(3) of the Internal

Revenue Code. I served as the President of ArLA in 2023.

       3.      I hold a Master’s Degree in Library & Information Science from Louisiana State

University, which is a program accredited by the American Library Association (ALA). I have

more than 30 years of professional experience in that field. For the past 27 years, I have worked

in various capacities for the Central Arkansas Library System, where I am currently employed as

the Strategic Data Manager.

       4.      I am familiar with the American Library Association’s (ALA) Code of Ethics and

Library Bill of Rights and the manner in which the principles described in those documents inform

how public libraries manage and display of materials in its collection. Broadly speaking, based on

my experience and training, I believe that public libraries should take into account the various


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interests and needs of the patrons the libraries serve. That means that libraries should try to have

materials in their collections that represent the broad range of human experience and reflect the

diversity of the region and the world. Works should not be excluded or included in the collection

based solely on subject matter or on political, religious, or ideological grounds.

       5.      ArLA is a professional association for libraries and individuals who work in them

throughout Arkansas. Its mission is to further the professional development of all library staff

members; to foster communication and cooperation among librarians, trustees, and friends of

libraries; to increase the visibility of libraries among the general public and funding agencies; and

to serve as an advocate for librarians and libraries.

       6.      ArLA has more than 400 members, including both individuals and institutions.

ArLA’s individual members include those who are employed full- or part-time by a library or

library-related institution. ArLA’s institutional members include public libraries.

       7.      ArLA’s members are physically located across Arkansas. ArLA has at least one

active and dues-paying member in 58 of 75 counties in Arkansas, including Crawford County, and

has at least one active member in all but one judicial circuit in the state.1




1
 In a prior declaration, I stated that ArLA has an active member in 56 counties and in every judicial
circuit in Arkansas. See Declaration of Carol Coffey (Doc. 22-4) at ¶ 7. After reviewing ArLA’s
membership roster, however, I learned that ArLA has an active member in 58 counties but does
not currently have an active member in the Eleventh Judicial District – East. ArLA had an active
member in the Eleventh Judicial District – East as recently as 2022 and I expect that ArLA will
have active members in that area in the future.
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                    Act 372 Causes Irreparable Injury to ArLA’s Members

       8.      Act 372 causes irreparable injury to the interests of ArLA’s members in the

following ways:

       9.      ArLA suffers irreparable injury to the interests of its members because many of its

member libraries or its member librarians’ workplaces carry materials in their general collections

that, though constitutionally protected, may be considered harmful to younger minors. If those

libraries continue to include those materials in their main collections, their staff could be subjected

to the threat of prosecution under Section 1 of Act 372 or might have to contend with repeated

challenges to the appropriateness of those materials under Section 5 of Act 372.

       10.     Many of our member libraries have books that have been inaccurately and unfairly

described as containing material that is obscene or otherwise inappropriate for inclusion in a public

library. The following list contains just some of the books that appear in the main collections of

libraries that are ArLA members, or at which ArLA members work, and have been scrutinized or

unfairly characterized as containing material that is legally obscene or otherwise inappropriate for

inclusion in a public library, including by a member of the State Library Board.2 In reality, these

books are not obscene and are constitutionally protected for older minors and adults even if some

have content that could be deemed inappropriate for some younger, less mature minors.

●      “It’s Perfectly Normal: Changing Bodies, Growing Up, Sex, and Sexual Health” by Robie
       Harris
●      “Sex is a Funny Word” by Cory Silverberg
●      “This Book Is Gay” by Juno Dawson
●      “Out of Darkness” by Ashley Hope Perez
●      “All Boys Aren’t Blue” by George M. Johnson
●      “Lawn Boy” by Jonathan Evison

2
 Debra Hale-Shelton, Jason Rapert Crowns Himself the ‘Conscience of the State Library Board,’
Wants Security at Meetings, Ark. Times (Feb. 14, 2024), https://arktimes.com/arkansas-
blog/2024/02/14/jason-rapert-calls-himself-the-conscience-of-the-state-library-board-and-wants-
security-at-board-meetings.
                                                  3
●       “Jack of Hearts” by L.C. Rosen
●       “Lucky” by Alice Sebold
●       “A Court of Mist and Fury” by Sarah J. Maas
●       “Gender Queer” by Maia Kobabe
●       “Milk and Honey” by Rupi Kaur
●       “The Handmaid’s Tale: A Graphic Novel” by Margaret Atwood
●       “What Girls Are Made Of” by Elana Arnold
●       “The Perks of Being a Wallflower” by Stephen Chbosky
●       “The Nowhere Girls” by Amy Reed
●       “The Glass Castle” by Jeannette Walls
●       “Fallout” by Ellen Hopkins
●       “What We Saw” by Aaron Hartzler
●       “The Exact Opposite of Okay” by Laura Steven
●       “Asking For It” by Louise O’Neill

        11.     I expect that some of these books will, at a minimum, be the subject of repeated,

burdensome challenges under Act 372. Indeed, a number of our member-libraries have already

received demands that these books, and others dealing with similar themes, be removed from their

collections; and at least one other library has faced backlash for featuring a gay pride-themed

display, resulting in a major loss of funding. The challenge procedure required by Section 5 will

surely cause demands to remove or suppress such materials to increase.

        12.     Most of the libraries that are members of ArLA or at which ArLA members work

serve small communities. I am aware, because of ArLA’s work serving and supporting these

members, that these libraries often maintain their collections on open shelves, which are organized

by type of book and subject matter and designed so that patrons may locate materials of interest

without requiring assistance from library staff. These libraries serve patrons that range in age from

toddlers to the elderly.

        13.     Many of these libraries do not have the financial resources or staffing to do a review

of their entire collections in order to identify all material that might be deemed harmful to a

younger minor and would need to be physically segregated away from the general collection under



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Act 372. That kind of effort would require library staff to review each item in the library’s

collection closely enough to have an understanding of the content and context in which that content

is presented to the reader or viewer.

       14.     Similarly, many of these libraries have open floor plans and would need to

restructure their library or add some walls and doors in order to securely segregate materials that

might violate Section 1, if accessed by younger minors. These libraries do not have the physical

space or financial resources to undertake that kind of project.

       15.     For instance, Yell County Library in Danville, Arkansas is one of the smaller library

branches represented among ArLA’s membership, and it is the smallest in the Arkansas River

Valley Regional Library System. Yell County Library’s space already limits its ability to do basic

programming for its patrons, so it certainly does not have space to create a secure, adults-only area.

See Exhibit A (photos of Yell County Library).

       16.     Franklin County Library in Ozark, Arkansas is contained on a single floor that has

an open layout with no separate space from the main collection and no interior walls to create

division. See Exhibit B (photos depicting Franklin County Library).

       17.     Logan County Library in Booneville, Arkansas is similarly situated and also has a

single-floor open-layout, no space that is separate from the main collection, and no interior walls

to create division. See Exhibit C (Logan County Library).

       18.      Even if these libraries had the resources to restructure their physical layout, doing

so would violate the basic purpose of these libraries: creating a welcoming and inviting

environment, where readers can freely peruse the curated offerings in their library’s collection and

discover materials of interest.




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       19.     I think most libraries in Arkansas will struggle to create the kind of secure,

adult-only spaces that seem necessary to avoid criminal liability under Section 1 of Act 372 and

are required by Section 5 of Act 372. That is certainly true for ArLA’s member libraries.

       20.     Given that reality, ArLA’s member libraries feel like Act 372 forces them to choose

between exposing their employees to criminal liability, denying adults and older minors access to

material that is appropriate for their age and reading level, or denying children access to the library

entirely. Those options are not acceptable to ArLA’s members.

       21.     Many of ArLA’s library-members also have only one copy of books that are likely

to be challenged under Section 5 of Act 372. For example, I am aware that North Little Rock

Public Library only has one copy of the sex-education book “It’s Perfectly Normal” by Robie

Harris, which has been repeatedly challenged and banned elsewhere. If a library only has one copy

of a book that is challenged, it will need to either remove the book from circulation in order to

review the book and respond to the challenge or pay for an additional copy of the challenged book.

That means that, during the review required by Section 5, libraries with only one copy of

challenged books will be forced to choose between paying to acquire additional copies or allowing

the submission of a challenge to render the book unavailable to their patrons.

       22.     ArLA’s member-libraries are also frequently visited by families that include

children too young to be left unattended while a parent or older sibling peruse, either as a matter

of library policy or parental judgment. In those cases, the chaperoning adult or older minor would

be unable to access books segregated in an area of the library where the younger minor is

prohibited from entering. They could browse the children’s section with the younger minor but

might not be able to access materials of interest to them.




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       23.     Based on my work with ArLA’s members, and in my professional experience as a

librarian and library administrator, families will be less inclined to visit ArLA member-libraries if

Act 372 prevents them from perusing books together. Similarly, I believe that adult visitors to

ArLA member-libraries will generally be less inclined to peruse any books made available only in

an adults-only section, as those books have a stigma attached and are less attractive to many readers

for that reason.

                   Act 372 Causes Injury to ArLA’s Organizational Interests

       24.     Act 372 also causes irreparable injury to ArLA’s organizational interests in the

following ways:

       25.     Section 5 of Act 372 discriminates between those who support a particular book

and believe it is appropriate for inclusion in a public library’s main collection and those who

oppose a particular book and would challenge it as inappropriate for inclusion. While a book’s

opponents are afforded multiple, formal opportunities to advocate for the book’s removal or

segregation, the book’s supporters are given no similar right or ability to advocate for the book’s

continued inclusion in the library’s collection.

       26.     If Section 5 permitted those who favor keeping a challenged book in circulation to

have input, ArLA or its members would participate to advocate for books remaining available.

Similarly, if Section 5 allowed appeals from a library committee’s decision to segregate or remove

a challenged book, ArLA or its members would avail themselves of that recourse.

       27.     ArLA also suffers irreparable injury to its organizational interests because, to

counteract the harm that ArLA’s members will suffer from Act 372, it has been forced to divert

organizational resources, including staff time and money, to respond to Act 372 through public




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education campaigns, media training, and development of reference and training materials to help

its members understand what compliance with Act 372 would require.

       28.     For instance, when Act 372 was being debated by the Arkansas Legislature, ArLA

put out action calls to its members, which resulted in members attending legislative hearings,

speaking out against the bill, and contacting their representatives to voice their opposition.

       29.     In addition, ArLA expended time and effort to develop training and professional

development offerings that were responsive to member concerns related to Act 372, including by

producing a panel on intellectual freedom, developing a workshop for library paraprofessionals

that included a session on the impact of Act 372, and shifting a large portion of its annual

conference to cover how libraries will respond to Act 372.

       30.     Since Act 372 was signed into law, ArLA has received numerous questions from

its members, who are concerned about being prosecuted under Act 372 and about the impact the

new law will have on their jobs and libraries. I have spent time reading and responding to the

dozens of messages that have been posted on ArLA’s discussion boards. I know that other ArLA

board members have spent a considerable amount of their personal time trying to provide guidance

to concerned members about Act 372, as well.

       31.     Because ArLA is run by volunteers who are also balancing full-time obligations to

their employers and families, time spent addressing Act 372 directly affects the amount of time

available to spend on core organizational priorities, like professional development trainings or

ArLA’s annual conference.

       32.     Sections 1 and 5 of Act 372 thus impede ArLA’s overall mission by forcing ArLA

to divert unrecoverable resources from projects and activities in which it would have otherwise

engaged.



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I declare under penalty of perjury that the foregoing is true and correct.

Executed May 7, 2024 in Little Rock, Arkansas.


                                                              /s/ Carol Coffey               .

                                                              Carol Coffey, Past-President
                                                              Arkansas Library Association




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                                      EXHIBIT A


Yell County Library in Danville, AR
                                 EXHIBIT B
Franklin County Library in Ozark, AR
                                EXHIBIT C
Logan County Library in Booneville, AR
